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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                        )
                                                  )
                        Plaintiff,                )
                                                  )
        vs.                                       )    CRIMINAL NO. 05-30133-DRH
                                                  )
 TALIA PITTMAN,                                   )
                                                  )
                        Defendant.                )

                                             ORDER

 PROUD, Magistrate Judge:

        The Court has reviewed the conditions of defendant’s bond, and finds it appropriate to

 require confirmation of defendant’s pregnancy. Therefore, the Court orders that the conditions

 of defendant’s bond are amended to add the following:

        Defendant Talia Pittman shall submit to a pregnancy test as directed by the U.S.

 Probation Office, and the results thereof shall be reported to the Court forthwith.

        IT IS SO ORDERED.

        DATE: October 17, 2005.



                                               s/ Clifford J. Proud
                                               CLIFFORD J. PROUD
                                               UNITED STATES MAGISTRATE JUDGE
